CaSe 1-17-46613-nh| DOC 3_4-2 Filed 02/28/18 Entered 02/28/18 16252:02

 

EXHIBM B

 

 

 

 

 

Case 1-17-46613-nh|

DOC 34-2 Filed 02/28/18 Entered 02/28/18 16252:02

 

Corp Total per

Total Heceived per

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

company Name Momh vear Expenses Per Corp
GFOSS |l'lCOr\'l€/ Accountant l USTrustee - OHice Rent & Adm'ln / Tota| Expenses per Net income per
A|‘thl.|r Cab - OpErBtofs Nlunth Taxes 5325/mnnth Uti\i'ties Bonkkeeper Of'ficer Sa|ary month Nlonth Net |ncome l \‘ear
Dabri Trans Corp 5 3,000.00 5 36,000.00 5 3,000.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 2,085.00 5 25,020.00
Fit Taxi Corp $ 3,300.00 5 39,690.00 5 3,300.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 2,385.00 5 28,620.00
Merab Cab Corp 5 3,000.00 5 36,000.00 5 3,000.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 2,085.00 5 25,020.00
Tarnar Cab Corp 5 3,000.00 5 36,000.00 5 3,000.00 5 186.67 108.33 5 75.00 5 ' 175.00 5 370.00 5 915.00 5 2,085.00 5 25,020.00
Napasei Taxi ngmt. Corp.
Jackhe| Cab Corp 5 2,500.00 5 30,000.00 5 2,500.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 1,585.00 5 19,020.00
Jarub Trans Corp $ ?.,500.00 5 30,000.00 5 2,500.00 5 136.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 1,585.00 5 19,020.00
Lechaim Cab Corp 5 3,000.00 5 36,000.00 5 3,000.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 2,085.00 5 25,020.00
NY Canteen Taxi Corp 5 3,000.00 5 36,000.00 5 3,000.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 2,085.00 5 25,020.00
NY Energy Taxé Corp 5 2,500.00 5 30,000.00 5 2,500.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 1,585.00 5 19,020.00
NY Stance Ta><i corp $ 2,500.00 $ 30,000.00 $ 2,500.00 5 136.67 105.33 $ 75,00 $ 1?5.00 $ 370.00 $ 915.00 5 1,535.00 $ 19,020.00
NY Tint Taxi Corp 5 2,500.00 5 30,000.00 5 2,500.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 1,585.00 5 19,020.00
50myash Taxi lnc. 5 3,000.00 5 36,000.00 5 3,000,00 5 186.67 108.33 5 75.00 5 175_00 5 370.00 5 915.00 5 2,085.09 5 25,020.00
Wailing N|anagment |nc.
Bracha Cab Corp 5 2,200.00 26,400.00 5 2,200.00 186.67 108.33 5 75.00 5 175.00 370.00 5 915.00 5 1,235.00 5 15,420.00
Duvber Cab Corp 5 2,400.00 28,800.00 5 2,400.00 186,67 108.33 5 75.00 5 175.00 370.00 5 915.00 5 1,485.00 5 17,820.00
NY Genesis Taxi Corp $ 2,&00.00 5 28,800.00 5 2,400.00 5 186.67 108.33 5 75.00 5 175.00 5 370.00 5 915.00 5 1,485.00 5 17,820.00
Nlonthly Momh|v ;Monthiy
Mgnthly Gro§s Nlonth|y Nlonth|y US Rent & aggkkeeeper . Of'ficer Sa|ary Nlonth|y - A|| - Net lncome per Net |ncome
lncome A|'| Account. - A|l Trustee - A|I Uti|ities - A[| A|| Ail Tota| Expenses N|onth - A|| Per Year Al1
TOTAL |NCON'|E ALL CORF‘S 5 489,600.00 5 40,800.00 5 2,800.05 5 1,62¢1.95 5 1,125.00 $ 2,625.00 5 5,550.00 5 13,725.00 5 27,075.00 $ 324,900.00
Armual Annua| - US Annu_a_| _Rent Annua| Annua| Officer Annual A|| Annua| Net
Accountant - & Uu|ltles - Bookkeeper -
Trustee - AH A|l Expenses |ncome - All
Al| AH A||
$ 33,600.60 $ 19,500.00 $ 13,500.00 $ 31,500.00 $ 66,600.00 $ 164,700.00 $ 324,900.00

 

 

 

 

 

 

 

 

 

 

 

